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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


 COLLEEN VANOCKER, individually and
 on behalf of all others similarly situated,     Case No. ______________
                                                          1:21-cv-669


                     Plaintiff,                  CLASS ACTION COMPLAINT
                                                 JURY TRIAL DEMANDED
       v.

 FOUNDATION FOR NATIONAL
 PROGRESS,


                     Defendant.

      Plaintiff Colleen VanOcker (“Plaintiff”), individually and on behalf of herself

and all others similarly situated, by and through her attorneys, makes the following

allegations pursuant to the investigation of her counsel and based upon information

and belief, except as to allegations specifically pertaining to herself and her counsel,

which are based on personal knowledge.

                                  INTRODUCTION

      1.      Defendant Foundation for National Progress (“FNP”) rented,

exchanged, and/or otherwise disclosed detailed information about Plaintiff’s Mother

Jones magazine subscription to data aggregators, data appenders, data cooperatives,

and list brokers, among others, which in turn disclosed her information to aggressive

advertisers, political organizations, and non-profit companies. As a result, Plaintiff
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has received a barrage of unwanted junk mail. By renting, exchanging, and/or

otherwise disclosing Plaintiff’s Private Reading Information (defined below) during

the relevant pre-July 30, 2016 time period 1, FNP violated Michigan’s Preservation

of Personal Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378, §§ 1-4

(Mich. 1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1

(Mich. 1989) (the “PPPA”). 2

        2.     Documented evidence confirms these facts. For example, a list broker,

NextMark, Inc. (“NextMark”), offers to provide renters access to the mailing list

titled “Mother Jones Mailing List”, which contains the Private Reading Information

of 145,585 of FNP’s active U.S. subscribers at a base price of “$110.00/M [per

thousand],” (i.e., 11.0 cents apiece), as shown in the screenshot below:




1
        The statutory period for this action is six years. See M.C.L. § 600.5813.
2
       In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.).
The May 2016 amendment to the PPPA, which became effective on July 31, 2016,
does not apply retroactively to claims that accrued prior to its July 31, 2016 effective
date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.
2016) (holding that “the amendment to the [PP]PA does not apply to Plaintiffs’
claims, and the Court will assess the sufficiency of those claims under the law as it
was when Plaintiffs’ claims accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S.
224, 286 (1994)). Because the claims alleged herein accrued, and thus vested, prior
to the July 31, 2016 effective date of the amended version of the PPPA, the pre-
amendment version of the PPPA applies in this case. See Horton v. GameStop,
Corp., -- F. Supp. 3d --, 2018 WL 8335635, at *2-3 (W.D. Mich. Sept. 28, 2018).
                                           2
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See Exhibit A hereto.

      3.     By renting, exchanging, or otherwise disclosing the Private Reading

Information of its Michigan-based subscribers during the relevant pre-July 30, 2016

time period, FNP violated the PPPA. Subsection 2 of the PPPA provides:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
            lending books or other written materials ... shall not
            disclose to any person, other than the customer, a record
            or information concerning the purchase ... of those
            materials by a customer that indicates the identity of the
            customer.


                                        3
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PPPA § 2.

      4.      Accordingly, Plaintiff brings this Class Action Complaint against FNP

for its intentional and unlawful disclosure of its customers’ Private Reading

Information in violation of the PPPA.

                            NATURE OF THE CASE

      5.      To supplement its revenues, FNP rents, exchanges, or otherwise

discloses its customers’ information—including their full names, titles of

publications subscribed to, and home addresses (collectively “Private Reading

Information”), as well as myriad other categories of individualized data and

demographic information such as gender—to data aggregators, data appenders, data

cooperatives, and other third parties without the written consent of its customers.

      6.      By renting, exchanging, or otherwise disclosing – rather than selling –

its customers’ Private Reading Information, FNP is able to disclose the information

time and time again to countless third parties.

      7.      FNP’s disclosure of Private Reading Information and other

individualized information is not only unlawful, but also dangerous because it allows

for the targeting of particular members of society. For example, anyone could buy

a customer list provided by FNP that contains the names and addresses of all women

who subscribe to The Economist and live in Detroit. Such a list is available for sale

on the open market for approximately $121.00 per thousand subscribers listed.


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      8.      While FNP profits handsomely from the unauthorized rental,

exchange, and/or disclosure of its customers’ Private Reading Information and other

individualized information, it does so at the expense of its customers’ statutory

privacy rights (afforded by the PPPA) because FNP does not obtain its customers’

written consent prior to disclosing their Private Reading Information.

                                    PARTIES

       9.     Plaintiff Colleen VanOcker is a natural person and citizen of the State

of Michigan and resides in Grand Rapids, Michigan. Plaintiff was a subscriber to

Mother Jones magazine, including during the relevant pre-July 30, 2016 time period.

Mother Jones magazine is published by FNP. While residing in, a citizen of, and

present in Michigan, Plaintiff purchased her subscription to Mother Jones magazine

directly from FNP. Prior to and at the time Plaintiff subscribed to Mother Jones,

FNP did not notify Plaintiff that it discloses the Private Reading Information of its

customers, and Plaintiff has never authorized FNP to do so. Furthermore, Plaintiff

was never provided any written notice that FNP rents, exchanges, or otherwise

discloses its customers’ Private Reading Information, or any means of opting out.

Since subscribing to Mother Jones, and during the relevant pre-July 30, 2016 time

period, FNP disclosed, without the requisite consent or prior notice, Plaintiff’s

Private Reading Information to data aggregators, data appenders, and/or data

cooperatives, who then supplement that information with data from their own files.


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Moreover, during that same period, FNP rented or exchanged mailing lists

containing Plaintiff’s Private Reading Information to third parties seeking to contact

FNP subscribers, without first obtaining the requisite written consent from Plaintiff

or even giving her prior notice of the rentals, exchanges, and/or other disclosures.

       10.    Defendant Foundation for National Progress is a California

corporation with its headquarters and principal place of business in San Francisco,

California. FNP does business throughout Michigan and the entire United States.

FNP is the publisher of Mother Jones magazine.

                         JURISDICTION AND VENUE

      11.     This Court has subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

and costs, and at least one Class member is a citizen of a state different from

Defendant.

      12.     The Court has personal jurisdiction over FNP because Plaintiff’s

claims arose in substantial part from actions and omissions in Michigan, including

from Plaintiff’s purchase of a Mother Jones subscription in Michigan, FNP’s

direction of such Mother Jones subscription into Michigan, and FNP’s failure to

obtain Plaintiff’s written consent in Michigan prior to disclosing her Private Reading

Information, including her residential address in Michigan, to another person, the


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effects of which were felt from within Michigan by a citizen and resident of

Michigan. Personal jurisdiction also exists over FNP in Michigan because FNP

conducts substantial business within Michigan, such that FNP has significant,

continuous, and pervasive contacts with the State of Michigan.

      13.        Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

FNP does substantial business in this judicial District and a substantial part of the

events giving rise to Plaintiff’s claims took place within this judicial District.

                             FACTUAL BACKGROUND

                   Michigan’s Preservation of Personal Privacy Act

      14.        In 1988, members of the United States Senate warned that records of

consumers’ purchases and rentals of audiovisual and publication materials offer “a

window into our loves, likes, and dislikes,” and that “the trail of information

generated by every transaction that is now recorded and stored in sophisticated

record-keeping systems is a new, more subtle and pervasive form of surveillance.”

S. Rep. No. 100-599 at 7–8 (1988) (statements of Sens. Simon and Leahy,

respectively).

      15.        Recognizing the need to further protect its citizens’ privacy rights,

Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

purchase, rental, or borrowing of certain materials,” by prohibiting companies from

disclosing certain types of sensitive consumer information. H.B. No. 5331, 1988


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Mich. Legis. Serv. 378 (West).

      16.     Subsection 2 of the PPPA states:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
            lending books or other written materials . . . shall not
            disclose to any person, other than the customer, a record
            or information concerning the purchase . . . of those
            materials by a customer that indicates the identity of the
            customer.

PPPA § 2 (emphasis added).

      17.     Michigan’s protection of reading information reflects the “gut feeling

that people ought to be able to read books and watch films without the whole world

knowing,” and recognizes that “[b]ooks and films are the intellectual vitamins that

fuel the growth of individual thought. The whole process of intellectual growth is

one of privacy—of quiet, and reflection. This intimate process should be protected

from the disruptive intrusion of a roving eye.” S. Rep. No. 100–599, at 6 (Statement

of Rep. McCandless).

      18.     As Senator Patrick Leahy recognized in proposing the Video and

Library Privacy Protection Act (later codified as the Video Privacy Protection Act,

18 U.S.C. § 2710), “[i]n practical terms our right to privacy protects the choice of

movies that we watch with our family in our own homes. And it protects the

selection of books that we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988).

      19.     Senator Leahy also explained why choices in movies and reading

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materials are so private: “These activities . . . reveal our likes and dislikes, our

interests and our whims. They say a great deal about our dreams and ambitions, our

fears and our hopes. They reflect our individuality, and they describe us as people.”

Id.

      20.     Michigan’s passage of the PPPA also established as a matter of law

“that a person’s choice in reading, music, and video entertainment is a private matter,

and not a fit subject for consideration by gossipy publications, employers, clubs, or

anyone else for that matter.”      Privacy: Sales, Rentals of Videos, etc., House

Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989 (attached hereto as

Exhibit B).

      21.     Despite the fact that thousands of Michigan residents subscribe to

FNP’s publications, FNP disregarded its legal responsibility by systematically

violating the PPPA.

                       The Private Information Market:
                 Consumers’ Private Information Has Real Value

      22.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity

to the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being




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defined by the existing data on themselves.” 3

      23.     More than a decade later, Commissioner Swindle’s comments ring

truer than ever, as consumer data feeds an information marketplace that supports a

$26 billion dollar per year online advertising industry in the United States. 4

      24.     The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

             Most consumers cannot begin to comprehend the types
             and amount of information collected by businesses, or why
             their information may be commercially valuable. Data is
             currency. The larger the data set, the greater potential for
             analysis—and profit.5

      25.     In fact, an entire industry exists while companies known as data

aggregators purchase, trade, and collect massive databases of information about

consumers. Data aggregators then profit by selling this “extraordinarily intrusive”


3
       Exhibit C, The Information Marketplace: Merging and Exchanging
Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
July 30, 2021).
4
        See Exhibit D, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
http://online.wsj.com/article/SB10001424052748703529004576160764037920274
.html (last visited July 30, 2021).
5
        Exhibit E, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7,
2009),                at                 2,             available                at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
2021) (emphasis added).
                                          10
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information in an open and largely unregulated market. 6

      26.     The scope of data aggregators’ knowledge about consumers is

immense: “If you are an American adult, the odds are that [they] know[] things like

your age, race, sex, weight, height, marital status, education level, politics, buying

habits, household health worries, vacation dreams—and on and on.” 7

      27.     Further, “[a]s use of the Internet has grown, the data broker industry

has already evolved to take advantage of the increasingly specific pieces of

information about consumers that are now available.” 8

      28.     Recognizing the serious threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

Partisan Privacy Caucus sent a letter to nine major data brokerage companies

seeking information on how those companies collect, store, and sell their massive



6
     See Exhibit F, Martha C. White, Big Data Knows What You’re Doing Right
Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
knows-what-youre-doing-right-now/ (last visited July 30, 2021).
7
       Exhibit G, Natasha Singer, You for Sale: Mapping, and Sharing, the
Consumer Genome, N.Y. Times (June 16, 2012), available at
https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
6S.pdf (last visited July 30, 2021).
8
       Exhibit H, Letter from Senator John D. Rockefeller IV, Chairman, Senate
Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
Executive     Officer,     Acxiom     (Oct.     9,   2012)     available    at
http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
4157-a97b-a658c3c3061c (last visited July 30, 2021).

                                         11
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collections of consumer data. 9

      29.       In their letter, the co-Chairmen recognized that “[b]y combining data

from numerous offline and online sources, data brokers have developed hidden

dossiers on every U.S. consumer,” which “raises a number of serious privacy

concerns.” 10

      30.       Data aggregation is especially troublesome when consumer

information is sold to direct-mail advertisers. In addition to causing waste and

inconvenience, direct-mail advertisers often use consumer information to lure

unsuspecting consumers into various scams, 11 including fraudulent sweepstakes,

charities, and buying clubs. Thus, when companies like FNP share information with

data aggregators, data cooperatives, and direct-mail advertisers, they contribute to

the “[v]ast databases” of consumer data that are often “sold to thieves by large

publicly traded companies,” which “put[s] almost anyone within the reach of




9
        See Exhibit I, Bipartisan Group of Lawmakers Query Data Brokers About
Practices Involving Consumers’ Personal Information, Website of Senator Ed
Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
involving-consumers-personal-information (last visited July 30, 2021).
10
       Id.
11
      See Exhibit J, Prize Scams, Federal Trade Commission,
http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).

                                          12
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fraudulent telemarketers” and other criminals. 12

      31.     Information disclosures like those made by FNP are particularly

dangerous to the elderly. “Older Americans are perfect telemarketing customers,

analysts say, because they are often at home, rely on delivery services, and are lonely

for the companionship that telephone callers provide.” 13 The FTC notes that “[t]he

elderly often are the deliberate targets of fraudulent telemarketers who take

advantage of the fact that many older people have cash reserves or other assets to

spend on seemingly attractive offers.” 14 Indeed, an entire black market exists where

the private information of vulnerable elderly Americans is exchanged.

      32.     Thus, information disclosures like FNP’s are particularly troublesome

because of their cascading nature: “Once marked as receptive to [a specific] type of

spam, a consumer is often bombarded with similar fraudulent offers from a host of




12
       Exhibit K, Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
N.Y.        Times,        May        20,        2007,        available      at
http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
2021).
13
      Id.
14
       Exhibit L, Fraud Against Seniors: Hearing before the Senate Special
Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
visited July 30, 2021).

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scam artists.” 15

       33.       FNP is not alone in jeopardizing its subscribers’ privacy and well-

being in exchange for increased revenue: disclosing subscriber information to data

aggregators, data appenders, data cooperatives, direct marketers, and other third

parties is a widespread practice in the publishing industry.

       34.       Thus, as consumer data has become an ever-more valuable

commodity, the data mining industry has experienced rapid and massive growth.

Unfortunately for consumers, this growth has come at the expense of their most

basic privacy rights.

                 Consumers Place Monetary Value on their Privacy and
                  Consider Privacy Practices When Making Purchases

       35.       As the data aggregation and cooperative industry has grown, so too

have consumer concerns regarding the privacy of their information.

       36.       A recent survey conducted by Harris Interactive on behalf of

TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

with companies who they believe do not protect their privacy online. 16 As a result,



15
       See id.
16
      See Exhibit M, 2014 TRUSTe US Consumer Confidence Privacy Report,
TRUSTe,                                      http://www.theagitator.net/wp-
content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
30, 2021).

                                          14
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81 percent of smartphone users polled said that they avoid using smartphone apps

that they don’t believe protect their privacy online. 17

       37.     Thus, as consumer privacy concerns grow, consumers are increasingly

incorporating privacy concerns and values into their purchasing decisions and

companies viewed as having weaker privacy protections are forced to offer greater

value elsewhere (through better quality and/or lower prices) than their privacy-

protective competitors.

       38.     In fact, consumers’ private information has become such a valuable

commodity that companies are beginning to offer individuals the opportunity to sell

their information themselves. 18

       39.     These companies’ business models capitalize on a fundamental tenet

underlying the consumer information marketplace:           consumers recognize the

economic value of their private data. Research shows that consumers are willing to

pay a premium to purchase services from companies that adhere to more stringent

policies of protecting their data. 19


17
       Id.
18
       See Exhibit N, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
price-on-their-personal-data.html (last visited July 30, 2021).
19
      See Exhibit O, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
                                           15
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       40.    Thus, in today’s economy, individuals and businesses alike place a

real, quantifiable value on consumer data and corresponding privacy rights. 20

     FNP Unlawfully Rents, Exchanges, And Discloses Its Customers’ Private
                            Reading Information

       41.    FNP maintains a vast digital database comprised of its customers’

Private Reading Information.      FNP discloses its customers’ Private Reading

Information to data aggregators and appenders, who then supplement that

information with additional sensitive private information about each FNP customer,

including his or her gender. (See, e.g., Exhibit A).

       42.    FNP then rents and/or exchanges its mailing lists—which include

subscribers’ Private Reading Information identifying which individuals purchased

subscriptions to particular magazines, and can include the sensitive information

obtained from data aggregators and appenders—to other data aggregators and

appenders, other consumer-facing businesses, non-profit organizations seeking to

raise awareness and solicit donations, and to political organizations soliciting


254, 254 (2011); see also European Network and Information Security Agency,
Study      on    monetising    privacy     (Feb.     27,     2012),    available at
https://www.enisa.europa.eu/activities/identity-and-
trust/library/deliverables/monetising-privacy (last visited July 30, 2021).
20
       See Exhibit P, Hann, et al., The Value of Online Information Privacy: An
Empirical       Investigation     (Oct.     2003)       at     2,    available    at
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
value online privacy. It is obvious that people value online privacy.”).
                                         16
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donations, votes, and volunteer efforts. (See Exhibit A).

        43.   FNP also discloses its customers’ Private Reading Information to data

cooperatives, who in turn give FNP access to their own mailing list databases.

        44.   As a result of FNP’s data compiling and sharing practices, companies

can purchase and/or obtain mailing lists from FNP that identify FNP’s customers by

their most intimate details such as their gender. FNP’s disclosures of such sensitive

and private information puts consumers, especially the more vulnerable members of

society, at risk of serious harm from scammers.

        45.   FNP does not seek its customers’ prior consent, written or otherwise,

to any of these disclosures and its customers remain unaware that their Private

Reading Information and other sensitive information is being rented and exchanged

on the open market.

        46.   Consumers can sign up for subscriptions to FNP’s publications

through numerous media outlets, including the Internet, telephone, or traditional

mail.    Regardless of how the consumer subscribes, FNP never required the

individual to read or affirmatively agree to any terms of service, privacy policy, or

information-sharing policy during the relevant pre-July 31, 2016 time period.

Consequently, during the relevant pre-July 31, 2016 time period, FNP uniformly

failed to obtain any form of consent from – or even provide effective notice to – its

customers before disclosing their Private Reading Information.

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      47.     As a result, FNP disclosed its customers’ Private Reading Information

– including their reading habits and preferences that can “reveal intimate facts about

our lives, from our political and religious beliefs to our health concerns” 21 – to

anybody willing to pay for it.

      48.     By and through these actions, FNP has intentionally disclosed to third

parties its Michigan customers’ Private Reading Information without consent, in

direct violation of the PPPA.

                       CLASS ACTION ALLEGATIONS

      49.    Plaintiff seeks to represent a class defined as all Michigan residents

who, at any point during the relevant pre-July 30, 2016 time period, had their Private

Reading Information disclosed to third parties by FNP without consent (the “Class”).

Excluded from the Class is any entity in which Defendant has a controlling interest,

and officers or directors of Defendant.

      50.    Members of the Class are so numerous that their individual joinder

herein is impracticable. On information and belief, members of the Class number in

the thousands. The precise number of Class members and their identities are

unknown to Plaintiff at this time but may be determined through discovery. Class

members may be notified of the pendency of this action by mail and/or publication


21
      Exhibit Q, California’s Reader Privacy Act Signed into Law, Electronic
Frontier Foundation (Oct. 3,
2011), https://www.eff.org/press/archives/2011/10/03 (last visited July 30, 2021).
                                          18
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through the distribution records of Defendant.

      51.    Common questions of law and fact exist as to all Class members and

predominate over questions affecting only individual Class members. Common

legal and factual questions include, but are not limited to: (a) whether FNP is a

“retailer or distributor” of publications (i.e., magazines); (b) whether FNP obtained

consent before disclosing to third parties Plaintiff’s and the Class’s Private Reading

Information; and (c) whether FNP’s disclosure of Plaintiff’s and the Class’s Private

Reading Information violated the PPPA.

      52.    The claims of the named Plaintiff are typical of the claims of the Class

in that the named Plaintiff and the Class suffered invasions of their statutorily

protected right to privacy (as afforded by the PPPA) as a result of Defendant’s

uniform wrongful conduct, based upon Defendant’s disclosure of Plaintiff’s and the

Class’s Private Reading Information.

      53.    Plaintiff is an adequate representative of the Class because her interests

do not conflict with the interests of the Class members she seeks to represent, she

has retained competent counsel experienced in prosecuting class actions, and she

intends to prosecute this action vigorously. The interests of Class members will be

fairly and adequately protected by Plaintiff and her counsel.

      54.    The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims of Class members. Each individual Class

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member may lack the resources to undergo the burden and expense of individual

prosecution of the complex and extensive litigation necessary to establish

Defendant’s liability. Individualized litigation increases the delay and expense to

all parties and multiplies the burden on the judicial system presented by the complex

legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device

presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on

the issue of Defendant’s liability. Class treatment of the liability issues will ensure

that all claims and claimants are before this Court for consistent adjudication of the

liability issues.

                             CAUSE OF ACTION
          Violation of Michigan’s Preservation of Personal Privacy Act
                                   (PPPA § 2)

       55.    Plaintiff repeats the allegations contained in the foregoing paragraphs

as if fully set forth herein.

       56.    Plaintiff brings this claim individually and on behalf of members of the

Class against Defendant FNP.

       57.    As a magazine publisher that sells subscriptions to consumers, FNP is

engaged in the business of selling written materials at retail. See PPPA § 2.

       58.    By purchasing a subscription to Mother Jones magazine, Plaintiff


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purchased written materials directly from FNP. See PPPA § 2.

      59.    Because Plaintiff purchased written materials directly from FNP, she is

a “customer” within the meaning of the PPPA. See PPPA § 1.

      60.    At various times during the pre-July 30, 2016 time period, FNP

disclosed Plaintiff’s Private Reading Information, which identified her as a Mother

Jones customer, in at least three ways.

      61.    First, FNP disclosed mailing lists containing Plaintiff’s Private Reading

Information to data aggregators and data appenders, who then supplemented the

mailing lists with additional sensitive information from their own databases, before

sending the mailing lists back to FNP.

      62.    Second, FNP disclosed mailing lists containing Plaintiff’s Private

Reading Information to data cooperatives, who in turn gave FNP access to their own

mailing list databases.

      63.    Third, FNP rented and/or exchanged its mailing lists containing

Plaintiff’s Private Reading Information—enhanced with additional information

from data aggregators and appenders—to third parties, including other consumer-

facing companies, direct-mail advertisers, and organizations soliciting monetary

contributions, volunteer work, and votes.

      64.    Because the mailing lists included the additional information from the

data aggregators and appenders, the lists were more valuable, and FNP was able to

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increase its profits gained from the mailing list rentals and/or exchanges.

      65.    By renting, exchanging, or otherwise disclosing its customer lists,

during the relevant pre-July 30, 2016 time period, FNP disclosed to persons other

than Plaintiff records or information concerning her purchase of written materials

from FNP. See PPPA § 2.

      66.    The information FNP disclosed indicates Plaintiff’s name and address,

as well as the fact that she subscribed to Mother Jones. Accordingly, the records or

information disclosed by FNP indicated Plaintiff’s identity. See PPPA § 2.

      67.    Plaintiff and the members of the Class never consented to FNP

disclosing their Private Reading Information to anyone.

      68.    Worse yet, Plaintiff and the members of the Class did not receive notice

before FNP disclosed their Private Reading Information to third parties.

      69.    FNP’s disclosures of Plaintiff’s and the Class’s Private Reading

Information during the relevant pre-July 30, 2016 time period were not made

pursuant to a court order, search warrant, or grand jury subpoena.

      70.    FNP’s disclosures of Plaintiff’s and the Class’s Private Reading

Information during the relevant pre-July 30, 2016 time period were not made to

collect payment for their subscriptions.

      71.    FNP’s disclosures of Plaintiff’s Private Reading Information during the

relevant pre-July 30, 2016 time period were made to data aggregators, data

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appenders, data cooperatives, direct-mail advertisers, and organizations soliciting

monetary contributions, volunteer work, and votes—all in order to increase FNP’s

revenue. Accordingly, FNP’s disclosures were not made for the exclusive purpose

of marketing goods and services directly to Plaintiff and the members of the Class.

      72.    By disclosing Plaintiff’s and the Class’s Private Reading Information

during the relevant pre-July 30, 2016 time period, FNP violated Plaintiff’s and the

Class’s statutorily protected right to privacy in their reading habits. See PPPA § 2.

      73.    As a result of FNP’s unlawful disclosure of their Private Reading

Information, Plaintiff and the members of the Class have suffered invasions of their

statutorily protected right to privacy (afforded by the PPPA). On behalf of herself

and the Class, Plaintiff seeks: (1) an injunction requiring Defendant FNP to obtain

consent from Michigan customers prior to the disclosure of their Private Reading

Information as required by the PPPA; (2) $5,000.00 per Class member pursuant to

PPPA § 5(a); and (3) costs and reasonable attorneys’ fees pursuant to PPPA § 5(b).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, seeks a judgment against Defendant as follows:

              A.    For an order certifying the Class under Rule 23 of the
                    Federal Rules of Civil Procedure and naming Plaintiff as
                    representative of the Class and Plaintiff’s attorneys as Class
                    Counsel to represent the Class;

              B.    For an order declaring that Defendant’s conduct as
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                   described herein violates the Preservation of Personal
                   Privacy Act, PPPA;

            C.     For an order finding in favor of Plaintiff and the Class on
                   all counts asserted herein;

            D.     For an award of $5,000 to Plaintiff and each Class member,
                   as provided by the Preservation of Personal Privacy Act,
                   PPPA § 5(a);

            E.     For prejudgment interest on all amounts awarded; and

            F.     For an order awarding Plaintiff and the Class their
                   reasonable attorneys’ fees and expenses and costs of suit.

                                JURY DEMAND

     Plaintiff demands a trial by jury on all causes of action and issues so triable.

Dated: August 4, 2021                 Respectfully submitted,

                                      COLLEEN VANOCKER,

                                      By: /s Philip L. Fraietta
                                      One of Plaintiff’s Attorneys

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